Case 2:04-cr-20339-.]Pl\/l Document 33 Filed 04/25/05 Page 1 of 2 PagelD 24

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Plaintiff

VS.
CR. NO. 04-20339-D

LEANDRE BARNER

Defendant.

 

ORDER ON CONTINUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETTlNG

 

This cause came on for a report date on Apri| 19, 2005. At that time, counsel forthe
defendant requested a continuance of the l\/lay 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to July 5, 2005 with a gm
date of Thursdav. June 30. 2005, at 9:00 a.m.. in Courtroom 3, ch Floorofthe Federal
Building1 l\/lemphis, TN.

The period from |V|ay 13, 2005 through July 15, 2005 is excludable under 18 U.S.C.
§ 3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time to
prepare outweigh the need for a speedy tria|.

|T IS SO ORDERED this 2 day Of Apri|, 2005.

RN|CE B. NALD
UN|TED STATES D|STR|CT JUDGE

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itt entered on the docketl_sjid f

FRC:P on ____..__----""

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with P\ule 55 and/or 32(5)

   

UNITED S`TATE DISTRIC COURT - WETERN D'S'TRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 33 in
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Honorable Bernice Donald
US DISTRICT COURT

